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                        SUPPLEMENTAL CIVIL COVER SHEET FOR
                               NOTICES OF REMOVAL

      Pursuant to 28 U.S.C. §§ 1446 - 47 and D.C.COLO.LCivR 81.1, the removing party shall
promptly file a copy of each of the state court pleadings.

            Section A - Plaintiffs                         Section B - Defendants

Plaintiffs remaining in action at the time of   Defendants remaining in action at the time of
filing the notice of removal                    filing the notice of removal

State of Colorado                               James Cisneros
                                                Robert Rodarte
____________________________________            Jose Salazar
                                                Frankie Salazar
        Section C - Pending Motions             Note: the FBI is a third-party who has been
           As of Date of Removal                subpoenaed
               Title of Motion:                               Date Motion Filed:

1) Motion for Reconsideration (Rodarte)         November 16, 2009
2)__________________________________            ______________________________________
3)__________________________________            ______________________________________
4)__________________________________            ______________________________________
(Use reverse for additional information if
necessary)

            Section D - Hearings

Are hearings set on any motions? If yes,
please list motion, date of hearing, and the
assigned judge:

For Defendant Rodarte: Motion for
Reconsideration, Dec. 17, 2009 at 9a.m.,
Division 15 (Judge Werner)
Trial, Jan. 19, 2010, Division 15 (Judge        s/ Amy L. Padden
Werner)                                         Amy L. Padden
____________________________________            Telephone Number: (303) 454-0100
____________________________________            Date: Dec. 11, 2009
____________________________________
____________________________________            State Court Case Nos.: 09cr748, 09cr753,
                                                09cr768, 09cr818 (El Paso County District
                                                Court)


(Rev. 04/06/06)
